Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 1 of 29 Page ID
                                 #:1276




                          Exhibit A
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                                    #:1277



Document title:                  LIU & QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur,
                                 froncé sur le côté, col rond, S XL | AliExpress

Capture URL:                     https://fr.aliexpress.com/item/32958377875.html?
                                 spm=a2g0o.detail.1000023.9.b4295098SJ0UVa

Page loaded at (UTC):            Thu, 21 Oct 2021 16:20:13 GMT

Capture timestamp (UTC):         Thu, 21 Oct 2021 16:21:51 GMT

Capture tool:                    v7.12.2

Collection server IP:            54.157.181.49

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      28

Capture ID:                      7943df9c-113f-4c6c-853b-8c6be0b0b4cf

User:                            rimon-rob




                        PDF REFERENCE #:            n9fLc9SeUkzeMbM19xxn6q
                  Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 3 of 29 Page ID
                                                   #:1278




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 1 of 27
                  Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 4 of 29 Page ID
                                                   #:1279




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 2 of 27
                  Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 5 of 29 Page ID
                                                   #:1280




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 3 of 27
                  Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 6 of 29 Page ID
                                                   #:1281




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 4 of 27
                  Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 7 of 29 Page ID
                                                   #:1282




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 5 of 27
                  Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 8 of 29 Page ID
                                                   #:1283




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 6 of 27
                  Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 9 of 29 Page ID
                                                   #:1284




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 7 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 10 of 29 Page ID
                                                  #:1285




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 8 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 11 of 29 Page ID
                                                  #:1286




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 9 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 12 of 29 Page ID
                                                  #:1287




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 10 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 13 of 29 Page ID
                                                  #:1288




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 11 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 14 of 29 Page ID
                                                  #:1289




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 12 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 15 of 29 Page ID
                                                  #:1290




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 13 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 16 of 29 Page ID
                                                  #:1291




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 14 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 17 of 29 Page ID
                                                  #:1292




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 15 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 18 of 29 Page ID
                                                  #:1293




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 16 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 19 of 29 Page ID
                                                  #:1294




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 17 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 20 of 29 Page ID
                                                  #:1295




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 18 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 21 of 29 Page ID
                                                  #:1296




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 19 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 22 of 29 Page ID
                                                  #:1297




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 20 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 23 of 29 Page ID
                                                  #:1298




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 21 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 24 of 29 Page ID
                                                  #:1299




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 22 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 25 of 29 Page ID
                                                  #:1300




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 23 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 26 of 29 Page ID
                                                  #:1301




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 24 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 27 of 29 Page ID
                                                  #:1302




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 25 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 28 of 29 Page ID
                                                  #:1303




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 26 of 27
                 Case 2:20-cv-11181-CAS-JPR Document 66-9 Filed 11/01/21 Page 29 of 29 Page ID
                                                  #:1304




Document title: LIU &amp; QU – robe de maternité pour femmes enceintes, vêtement de maman, flatteur, froncé sur le côté, col rond, S XL | AliExpress
Capture URL: https://fr.aliexpress.com/item/32958377875.html?spm=a2g0o.detail.1000023.9.b4295098SJ0UVa
Capture timestamp (UTC): Thu, 21 Oct 2021 16:21:51 GMT                                                                                                 Page 27 of 27
